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 1    Attorney at Law
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 2    Fresno, California 93721
 3    Telephone: (559) 497-6132
 4    Attorney for Defendant,
      ADAM TORGLER
 5
 6
                          IN THE UNITED STATES DISTRICT COURT FOR THE
 7
                                  EASTERN DISTRICT OF CALIFORNIA
 8
 9
     UNITED STATES OF AMERICA,                                  Case No. 1:15-CR-00300 DAD-BAM
10            Plaintiff,                                        STIPULATION TO CONTINUE
11                                                              SENTENCING HEARING
                     v.                                         AND ORDER THEREON
12   ADAM TORGLER,                                              DATE: November 20, 2017
13                                                              TIME: 10:00 a.m.
             Defendant.                                         Courtroom Five
14                                                              Honorable Dale A. Drozd
15
16           Defendant, ADAM TORGLER, by and through his counsel, John F. Garland and the
17    United States of America, by and through its counsel, Phillip A. Talbert, United States
18
      Attorney and Kathleen A. Servatius, Assistant United States Attorney, hereby stipulate to
19
      continue the defendant's sentencing hearing from October 23, 2017 to November 20, 2017 at
20
21    10:00 a.m. This continuance is necessary because the United States Probation Office did not

22    complete the Draft Presentence Investigation Report (PSR) and make same available to the
23    parties until September 22, 2017, although the draft report was due on September 11, 2017.
24
      Counsel for the defendant intends to file Informal Objections to the draft PSR on October 2,
25
      2017 and the continuance will provide the United States Probation Office additional time to
26
27    respond to the Informal Objections and complete the Final Presentence Investigation Report.

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      ___________________________________________________________________________________________________________________
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 1
             The parties further stipulate that any delay resulting from this continuance shall be
 2
 3    excluded on the following basis:

 4                      Title 18 United States Code Section 3161(h)(8)(A) - that the ends of justice
 5
                        served by taking such action outweighs the best interest of the public and the
 6
                        defendant in a speedy trial.
 7
 8
      Dated: September 29, 2017                                       /s/ John F. Garland
 9                                                                       John F. Garland
                                                                      Attorney for Defendant
10                                                                      ADAM TORGLER
11
12    Dated: September 29, 2017                                         Phillip A. Talbert
                                                                      United States Attorney
13
14                                                                    /s/ Kathleen A. Servatius
15                                                              By:      Kathleen A. Servatius
                                                                        Assistant U.S. Attorney
16
17                                                 ORDER
18
               GOOD CAUSE APPEARING, based on the stipulation of the parties,
19
      IT IS HEREBY ORDERED that the sentencing hearing for defendant ADAM TORGLER is
20
21    continued to November 20, 2017 at 10:00 a.m.

22
      IT IS SO ORDERED.
23
24        Dated:      September 29, 2017
                                                                 UNITED STATES DISTRICT JUDGE
25
26
27
28
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